          1:16-bk-14945 Doc#: 136 Filed: 06/06/18 Entered: 06/06/18 23:41:18 Page 1 of 2
                                               United States Bankruptcy Court
                                               Eastern District of Arkansas
In re:                                                                                                     Case No. 16-14945-pmj
Mindy Kay Sloan                                                                                            Chapter 12
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0860-1                  User: marybeth                     Page 1 of 1                          Date Rcvd: Jun 04, 2018
                                      Form ID: nhrg                      Total Noticed: 3


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 06, 2018.
db              Mindy Kay Sloan,   3640 Luber Rd,   Mountain View, AR 72560-8236
intp            Attorney General of the US,   Dept of Justice,   950 Pennsylvania Ave. N.W.,   Room 4400,
                 Washington, DC 20530-0001
intp           +U.S. Attorney,   P.O. Box 1229,   Little Rock, AR 72203-1229

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 06, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 4, 2018 at the address(es) listed below:
              David G. Nixon    on behalf of Debtor Mindy Kay Sloan david@nixonlaw.com, kelly@nixonlaw.com,
               jill@nixonlaw.com
              Renee Williams     rwilliamstrustee@gmail.com,
               rwilliamstrs12@gmail.com;rwilliams12@cablelynx.com;ricksrg@gmail.com;lesliejot@gmail.com
              Ryan J. Caststeel    on behalf of Creditor   Stone Bank rcaststeel@hopkinslawfirm.com,
               across@hopkinslawfirm.com
              Theresa Louise Pockrus    on behalf of Debtor Mindy Kay Sloan theresa@nixonlaw.com,
               kelly@nixonlaw.com;jill@nixonlaw.com
              U.S. Trustee (ust)    USTPRegion13.LR.ECF@usdoj.gov,
               Shari.Sherman@usdoj.gov;Cecilia.A.Boyle@usdoj.gov;jackie.a.evatt@usdoj.gov;jill.p.eschbacher@usdo
               j.gov
                                                                                             TOTAL: 5
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Form nhrg
                                    UNITED STATES BANKRUPTCY COURT
                                              Eastern District of Arkansas


In Re:      Mindy Kay Sloan
            Debtor
                                                                       Case No.: 1:16−bk−14945
                                                                       Chapter: 12
                                                                       Judge: Phyllis M. Jones
PLEASE TAKE NOTICE that a Hearing has been scheduled before Judge Phyllis M. Jones at

U.S. Bankruptcy Court, 300 W. 2nd Street, Little Rock, AR 72201

on 7/19/18 at 09:30 AM

to consider and act upon the following:

128 − Motion to Sell Property, Located at 234 and 237 Luber Road, Mountain View, Arkansas Filed by Theresa
Louise Pockrus on behalf of Mindy Kay Sloan (Attachments: # 1 Exhibit A, O & A # 2 Exhibit B, legal descriptions
# 3 mailing matrix) (Pockrus, Theresa)
132 − Objection to Motion to Sell Property Located at 234 and 237 Luber Road, Mountain View, Arkansas (RE:
related document(s)128 Motion to Sell Property, Located at 234 and 237 Luber Road, Mountain View, Arkansas
Filed by Theresa Louise Pockrus on behalf of Mindy Kay Sloan (Attachments: # 1 Exhibit A, O & A # 2 Exhibit B,
legal descriptions # 3 mailing matrix) filed by Debtor Mindy Kay Sloan) Filed by Ryan J. Caststeel on behalf of
Creditor Stone Bank (Caststeel, Ryan)

Attorneys are directed to contact the Courtroom Deputy as soon as possible prior to hearing if this matter will require
more than 15 minutes to be heard.
HEARINGS INVOLVING A REQUEST TO MODIFY THE STAY:
For compelling reasons, the Court hereby orders that the automatic stay shall remain in effect pending the outcome of
the above−scheduled hearing, in accordance with 11 U.S.C. §362(e).

If you will be presenting evidence, the courtrooms are equipped with evidence presentation equipment. This
equipment supports the viewing evidence via document camera. Please contact the Courtroom Deputy, at
501−918−5642, if you would like to schedule a short training session before court.

If you will be introducing exhibits, please bring a copy for the staff attorney.

PLEASE NOTE THAT CELL PHONES WITH A CAMERA ARE NOT PERMITTED IN THE COURTHOUSE
WITHOUT A COURTHOUSE TECHNOLOGY PERMIT.



Dated: 6/4/18
                                                          Jean Rolfs, Clerk
                                                          By:
                                                          MaryBeth Mansfield
                                                          Deputy Clerk
